      18-11852-jlg        Doc 2     Filed 06/22/18      Entered 06/22/18 16:50:44          Deficiency Notice
                                                        Pg 1 of 1
                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF NEW YORK
                                             One Bowling Green
                                          New York, NY 10004−1408


IN RE: Panos Papadopoulos Seretis                           CASE NO.: 18−11852−jlg

Social Security/Taxpayer ID/Employer ID/Other Nos.:         CHAPTER: 7
xxx−xx−6449

                                               DEFICIENCY NOTICE

PLEASE TAKE NOTICE that, pursuant to the automatic dismissal provisions set forth in 11 U.S.C. § 521(i),
if: (1) you are an individual debtor or joint debtors, (2) you filed a voluntary case under chapter 7 or 13,
(3) you fail to cure those deficiencies identified by an asterisk [*] below, and (4) the Court does not grant an
extension of time or order otherwise, your case may be dismissed without further notice on or after the
forty−sixth (46th) day following the commencement of the case.

PLEASE TAKE FURTHER NOTICE that nothing herein modifies the deadline by which any document must
be filed under the applicable provisions of the Bankruptcy Code or Federal Rules of Bankruptcy Procedure, or
implies that the information contained in any filed document is adequate or sufficient. Additionally, the failure
to file any required document by such deadline may be cause for the dismissal or conversion of your case prior
to the forty−sixth (46th) day following the commencement of the case.

The current deficiencies in your case are listed below. If an asterisk [*] appears before a document listed below, the
document is a section 521(a)(1) requirement that, if not filed, would subject your case to the automatic dismissal
provisions (referred to in the first paragraph above).

Statement of Your Current Monthly Income (Official          Schedule G: Executory Contracts and Unexpired Leases
Form 122A−1) due 07/05/2018                                 (Official Form 106G) due 07/05/2018
List of ALL Creditors Required on Case Docket (PDF          Schedule H: Your Codebtors (Official Form 106H) due
Format) due at time of filing                               07/05/2018
Declaration About an Individual Debtor's Schedules          * Schedule I: Your Income (Official Form 106I)1 due
(Official Form 106Dec) due 07/05/2018                       07/05/2018
* Schedule A/B: Property (Official Form 106A/B) due         * Schedule J: Your Expenses (Official Form 106J)1 due
07/05/2018                                                  07/05/2018
Schedule C: The Property You Claim as Exempt (Official      Statement of Intention due 07/20/2018
Form 106C) due 07/05/2018                                   * Statement of Financial Affairs due 07/05/2018
* Schedule D: Creditors Who Hold Claims Secured By          Summary of Assets and Liabilities due 07/05/2018
Property (Official Form 106D) due 07/05/2018
* Schedule E/F: Creditors Who Have Unsecured Claims
(Official Form 106E/F) due 07/05/2018


All required documents must be filed timely. The document(s) appearing above must be filed with the Court by the
applicable deadline.
        1   NOTE: A debtor who has not filed Schedules I and/or J has also failed to provide the Court with
            the two statements required by section 521(a)(1)(B)(v) and (vi): "(v) a statement of the amount of
            monthly net income, itemized to show how the amount is calculated; and (vi) a statement
            disclosing any reasonably anticipated increase in income or expenditures over the 12−month period
            following the date of the filing of the petition." The filing of completed Schedules I and J
            satisfies the requirement of providing these two statements to the Court.

NOTE: No later than the time of the meeting of creditors conducted by the trustee pursuant to 11 U.S.C. § 341(a),
you must provide the trustee with copies of all payment advices or other evidence of payment received from any
employer within 60 days prior to the date of filing of the petition. See General Order M−382.


Dated: June 22, 2018                                                  Vito Genna
                                                                      Clerk of Court
